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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.
                                                       No. 18-cr-0032-2 (DLF)
 CONCORD MANAGEMENT &
 CONSULTING LLC,

                Defendant.


                                            ORDER

       Before the Court is the government’s ex parte, sealed Notice and the government’s

Motion to Seal and Proceed Ex Parte. The Notice states that the government is

                                        seeking a superseding indictment. The Notice provides

no detail about: (1) how a superseding indictment would impact the pending [208] Motion to

Strike Surplusage, [210] Motion to Dismiss Count One of the Indictment, [217] Motion for

Disclosure of Grand Jury Instructions, or the April 6, 2020 trial date; (2) whether the government

anticipates adding additional defendants; or (3) whether the government is seeking to add

charges or to expand the conspiracy

                      . The government shall file a notice addressing these issues at or before 12

p.m. on October 28, 2019 as to CONCORD MANAGEMENT AND CONSULTING LLC (2).

So Ordered by Judge Dabney L. Friedrich on October 25, 2019.




                                                            ________________________
                                                            DABNEY L. FRIEDRICH
                                                            United States District Judge
Date: October 25, 2019
